Case 3:17-cv-01791-BAJ-EWD Document166 05/19/23 Page1of1
TRANSCRIPT ORDER FORM (DKT-13) - READ INSTRUCTIONS ON LAST PAGE BEFORE COMPLETING

District Court (\ idd! @ Disterer of L ovis IANA District Court Docket No.2: | 7- CU- O] 74 [

Short Case Title Lette pWe V. Boeker et al,
ONLY ONE COURT REPORTER PER FORM Court Reporter NR

Date Notice of Appeal Filed in the District Court 0 / { 0 / / at 5 Court of Appeals No. 23 = 3 0 2 6 O

PART I. (To be completed by party ordering transcript. Do not complete this form unless financial arrangements have been made, see
instructions on page 2.)

A. Complete t ollowing:

CINo hearings anscript is unnecessary for appeal purposes ITranscript is already on file in the Clerk’s Office

 

 

 

OR
Check all of the following that apply, include date of the proceeding.
This is to order a transcript of the following proceedings: Bail Hearing L]Voir Dire
ClOpening Statement of Plaintiff ClOpening Statement of Defendant
(Closing Argument of Plaintiff OClosing Argument of Defendant:
ClOpinion of court OJury Instructions OSentencing
Other i not listed above:

H Date(s . J

 

Failure to specify in adequate detail those proceedings to be transcribed, or failure to make prompt satisfactory
financial arrangements for transcript, are grounds for DISMISSAL OF APPEAL.

B. This is to certify satisfactory financial arrangements have been made. Method of Payment:

CiPrivate Funds; Criminal Justice Act Funds (Enter Authorization-24 via eVoucher);

ClOther IFP Funds; [Advance Payment Waived by Reporter; ([IU-.S. Government Funds

 

 

 

OOther
Signature Jiiias LO Date Transcript Ordered. MV, if A
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Counsel for fn ‘salla lefebiz 2
Address 40 O Cam? at Mev Op lec ns 2013 O

Email of Attorney: 1255 (a) rf rel law. Cry

Brrr r rrr repre errr Neer rrr rrr rrr trier rrr rrr eat tae eee ae Pt et Pe et PtP te Pe PPP Pa) ht

PART If. COURT REPORTER ACKNOWLEDGMENT (To be completed by the court reporter and filed with the Court of
Appeals within 10 days after receipt. Read instructions on page 2 before completing.)

Date Transcript Order Date Satisfactory Arrangements Estimated Completion Date | Estimated Number of
Received for Payment were Made Pages

 

 

 

 

 

 

 

 

 

Payment arrangements have NOT been made or are incomplete.

Reason: C1Deposit not received Unable to contact ordering party (Awaiting creation of CJA 24 eVoucher
LJOther (Specify)

 

Date Signature of Reporter Tel.
Email of Reporter

Brrr r ud tet bbb tt bb bbb bb bade eet a hae ee a a a tee tp ea at abe

Part II. NOTIFICATION THAT TRANSCRIPT HAS BEEN FILED IN THE DISTRICT COURT (To be completed by
court reporter on date of filing transcript in the District Court. This completed form is to be-filed with the Court of Appeals.)

 

This is to certify that the transcript has been completed and filed at the District Court today.

Actual Number of Pages Actual Number of Volumes

 

Date Signature of Reporter
